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                            1 James C. Bastian, Jr. – Bar No. 175415
                              Melissa Davis Lowe – Bar No. 245521
                            2 SHULMAN HODGES & BASTIAN LLP
                              100 Spectrum Center Drive, Suite 600
                            3 Irvine, California 92618
                              Telephone:      (949) 340-3400
                            4 Facsimile:      (949) 340-3000
                              Email:          jbastian@shbllp.com
                            5                 mlowe@shbllp.com

                            6 Attorneys for Creditors HWAY, LLC,
                              a California limited partnership, and
                            7 Haig Bagerdjian

                            8                          UNITED STATES BANKRUPTCY COURT

                            9                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

                        10

                        11       In re                                  Case No. 2:17-bk-22432-WB

                        12       POINT.360, a California corporation,   Chapter 11

                        13       Debtor.                                STATEMENT OF HWAY LLC REGARDING
                                                                        OFFER TO ACCEPT VDMS AS TENANT
                        14                                              PROPOSED IN JOINT CHAPTER 11 PLAN
                                                                        FILED BY MEDLEY CAPITAL
                        15                                              CORPORATION, MEDLEY OPPORTUNITY
                                                                        FUND II LP AND VISUAL DATA MEDIA
                        16                                              SERVICES, INC.

                        17                                              Hearing Date on Confirmation:
                                                                        Date: May 31, 2019
                        18                                              Time: 10:00 a.m.
                                                                        Place: Courtroom 1375
                        19                                                     255 East Temple Street, 13th Floor
                                                                               Los Angeles, CA 90012
                        20

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                        22

                        23               TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY

                        24 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, MEDLEY CAPITAL

                        25 CORPORATION, MEDLEY OPPORTUNITY FUND II LP AND VISUAL DATA MEDIA

                        26 SERVICES, INC. AND THEIR COUNSEL, THE DEBTOR AND ITS COUNSEL, THE

                        27 COMMITTEE AND ITS COUNSEL, CREDITORS AND OTHER PARTIES-IN-

                        28 INTEREST:
 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                          1
    Irvine, CA 92618            6013-000\1363181.1
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                            1                                       I.       SUMMARY OF OBJECTION

                            2              HWAY, LLC, a California limited partnership (“HWAY”) hereby submits this Statement

                            3 regarding the offer to accept VDMS as a tenant of HWAY as proposed in the Plan of Reorganization

                            4 (docket 500) (“Medley/VDMS Plan”)1 Jointly Proposed by Medley Capital Corporation, Medley

                            5 Opportunity Fund II LP and Visual Data Media Services, Inc. (collectively “Medley/VDMS”).

                            6              While not entirely clear, it appears the Medley/VDMS Plan offers or proposes terms under

                            7 which VDMS would occupy the Property as part of a proposed settlement of certain claims,

                            8 including potential claims against HWAY and Mr. Bagerdjian. If it is not already clear, HWAY

                            9 and Mr. Bagerdjian reject this offer and do not consent to the “four-month vacate schedule”

                        10 proposed in the Plan. Further, to the extent Medley/VDMS intend to unilaterally bind HWAY to a

                        11 modified or entirely new lease through the Plan, this is contrary to applicable law discussed below.

                        12 In the event the Medley/VDMS Plan is confirmed, the HWAY Lease should be deemed rejected

                        13 without any extension or modification.

                        14                 For all these reasons which will be discussed in more detail below, HWAY rejects the offer

                        15 made by Medley/VDMS and objects to the “four-month vacate schedule” and forced tenancy

                        16 proposed by Medley/VDMS in the Medley/VDMS Plan.

                        17                                  II.      RELEVANT LANGUAGE OF THE PLAN

                        18                 Embedded in the Medley/VDMS Plan at page 13, paragraph 6, is the following language:
                        19                           6. On the Effective Date, all causes of action against Mr. Haig
                                                     Bagerdjian and HWAY will be deemed irrevocably assigned to
                        20                           VDMS, and, following the Effective Date, VDMS will be the sole
                                                     party with standing to pursue any such causes of action. If the HWAY
                        21                           Landlord does not object to the four-month vacate schedule proposed
                                                     by VDMS below, on the Effective Date, the HWAY Landlord and
                        22                           Mr. Bagerdjian will be deemed released from any and all claims the
                                                     Debtor and the Debtor’s estate may have against them.
                        23
                                           (Emphasis supplied.)
                        24
                                ///
                        25
                                ///
                        26
                                ///
                        27

                        28      1
 SHULMAN HODGES &
     BASTIAN LLP
                                    All capitalized terms not otherwise defined herein shall have the meaning set forth in the Medley/VDMS Plan.
100 Spectrum Center Drive
        Suite 600
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    Irvine, CA 92618            6013-000\1363181.1
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                            1            Later, the Medley/VDMS Plan states at page 18, lines 2-11 as follows:

                            2                        While the HWAY Lease will be deemed rejected as of the Effective
                                                     Date, notwithstanding anything herein to the contrary, VDMS shall
                            3                        have until the date this is four months following the Effective Date to
                                                     vacate the HWAY Property, which VDMS estimates as a necessary
                            4                        period of time for VDMS to be able to remove all of the property
                                                     located at the HWAY Property. On the Effective Date, VDMS shall
                            5                        deliver to the HWAY Landlord a cash payment equal to four months
                                                     of rent so that there is no risk whatsoever of the rent being paid.
                            6                        During this four-month period, VDMS shall provide the HWAY
                                                     Landlord with reasonable access to the HWAY Property during
                            7                        business hours on not less than twenty-four hours’ notice to VDMS
                                                     so that the HWAY Landlord can show the HWAY Property to any
                            8                        new prospective tenants.

                            9            (Emphasis supplied.)

                        10               While very unusual, the Plan seems to couch the “four-month vacate schedule” as an offer

                        11 to settle claims against HWAY and Mr. Bagerdjian, the principal of HWAY. During the deposition

                        12 of John Trautman held on May 8, 2019,2 however, his testimony suggested that VDMS believes the

                        13 Plan can bind HWAY to some sort of lease with VDMS or “vacate schedule” as that term is used in

                        14 the Plan.

                        15               For the avoidance of doubt, HWAY rejects any offer made by VDMS through the Plan,
                        16 objects to VDMS occupying the Property for any length of time, and objects to VDMS having any

                        17 semblance of a lease with HWAY.

                        18       III.      HWAY’S STATEMENT REGARDING OFFER TO ACCEPT VDMS AS TENANT
                        19                                    PROPOSED IN THE MEDLEY/VDMS PLAN
                        20 A.            The HWAY Lease Cannot Be Modified Absent HWAY’s Consent
                        21               The Medley/VDMS Plan states that the HWAY Lease will be rejected but then attempts to
                        22 give VDMS a four-month lease agreement with HWAY. This is not proper because when an

                        23 executory contract is rejected through a plan, it is rejected in its totality. See, In re Auto Dealer

                        24 Services, Inc., 65 B.R. 681, 685 (Bankr. M.D. Fla. 1986).

                        25 ///

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                        27
                                2
                        28        James C. Bastian, Jr., counsel to HWAY and Mr. Bagerdjian, attended the deposition by telephone. The transcript of
 SHULMAN HODGES &
     BASTIAN LLP
                                the deposition is not yet ready but will be provided to the Court and all necessary parties to the extent necessary.
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        Suite 600
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    Irvine, CA 92618            6013-000\1363181.1
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                            1            Contrary to such representation in the Medley/VDMS Plan, and although somewhat

                            2 confusing, it appears that Medley/VDMS is actually trying to assume and assign the HWAY Lease

                            3 with modification. Case law does not allow this absent the counter party’s consent. Specifically,

                            4 leases and executory contracts may only be assumed in their entirety or rejected; they cannot be

                            5 modified after acceptance. See, In re Maine, 32 B.R. 452, 455 (Bankr. W.D. N.Y. 1983); In re LHD

                            6 Realty Corp., 20 B.R. 717, 719 (Bankr. S.D. Ind. 1982). The terms of the contract to be assumed

                            7 “cannot be modified against the will of the contracting party.” In re McDaniel, 89 B.R. 861 (Bankr.

                            8 E.D. Wash. 1988. Accordingly, Medley/VDMS cannot modify the HWAY Lease and essentially

                            9 force a new tenancy upon HWAY without HWAY’s consent.

                        10               In a failed attempt to get around this issue, it appears as though Medley/VDMS are offering

                        11 to settle potential claims against HWAY and Mr. Bagerdjian in exchange for VDMS occupying the

                        12 Property for four months. During the deposition of John Trautman on May 8, 2019, however, his

                        13 testimony suggested that VDMS believes the Plan can bind HWAY to some sort of lease or vacate

                        14 schedule absent HWAY’s consent. As stated above, it cannot do so.

                        15               Moreover, there is no new contract or lease to which HWAY has agreed. Basic contract law

                        16 requires offer, acceptance and consideration for the formation of a contract. Those elements are not

                        17 met here and there is no writing which sets forth the terms of the tenancy. Medley/VDMS cannot

                        18 unilaterally bind HWAY to any contract.

                        19               Accordingly, the proposal made by VDMS is entirely improper and without any legal or

                        20 factual support.

                        21 B.            HWAY and Mr. Bagerdjian Do Not Accept the Offer Made by Medley/VDMS

                        22               Out of an abundance of caution and to avoid any doubt, HWAY wishes to make clear that it
                        23 does not accept any offer made in the Plan, does not accept any proposed modifications to the

                        24 HWAY Lease, and strenuously objects to the Medley/VDMS Plan somehow being able to bind

                        25 HWAY to any tenancy with VDMS.

                        26 ///

                        27 ///

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 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
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                            1                                      IV.    CONCLUSION

                            2            Based upon the foregoing, HWAY rejects what it believes to be the offer made by

                            3 Medley/VDMS, objects to Medley/VDMS’s forced four-month tenancy after the Effective Date as

                            4 proposed in the Plan, and requests that in the event the Medley/VDMS Plan is confirmed, the Court

                            5 specifically deny VDMS’s proposal for a four-month tenancy and “vacate schedule” as described in

                            6 the Plan and further specify that the HWAY Lease is deemed rejected.

                            7    Dated: May 9, 2019               Respectfully submitted,

                            8                                     SHULMAN HODGES & BASTIAN LLP

                            9                                     /s/ Melissa Davis Lowe
                                                                  ___________________________________________
                        10                                        James C. Bastian, Jr.
                                                                  Melissa Davis Lowe
                        11                                        Attorneys for Creditors HWAY, LLC and Haig Bagerdjian
                        12

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 SHULMAN HODGES &
     BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
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    Irvine, CA 92618            6013-000\1363181.1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100 Spectrum Center
Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled STATEMENT OF HWAY LLC REGARDING OFFER TO ACCEPT
VDMS AS TENANT PROPOSED IN JOINT CHAPTER 11 PLAN FILED BY MEDLEY CAPITAL CORPORATION,
MEDLEY OPPORTUNITY FUND II LP AND VISUAL DATA MEDIA SERVICES, INC. will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 9, 2019, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                                     Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On May 9, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

Judge’s Copy
U.S. Bankruptcy Court
Attn: Hon Julia W. Brand
255 East Temple Street, Suite 1382
Los Angeles, CA 90012
                                                                                                     Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _____________, I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

Medley Capital Corporation and Medley Opportunity Fund II LP – Via Email
Carey D. Schreiber, Esq.
Email: cschreiber@winston.com
                                                                                                     Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  May 9, 2019                                Anne Marie Vernon                                         /s/ Anne Marie Vernon
  Date                                       Printed Name                                              Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                 F 9013-3.1.PROOF.SERVICE
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                                                           NEF SERVICE LIST
David E Ahdoot on behalf of Creditor AFTRA Retirement Fund, SAG-AFTRA, SAG-AFTRA Health Fund
dahdoot@bushgottlieb.com, kireland@bushgottlieb.com

James C Bastian, Jr on behalf of Creditor HWAY LLC
jbastian@shbllp.com

Ron Bender on behalf of Interested Party Visual Data Media Services, Inc.
rb@lnbyb.com

Daren Brinkman on behalf of Creditor Committee Official Committee Unsecured Creditors
office@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com

William S Brody on behalf of Creditor Austin Financial Services, Inc.
wbrody@buchalter.com, dbodkin@buchalter.com;IFS_filing@buchalter.com

Sara Chenetz on behalf of Interested Party Sara L. Chenetz
schenetz@perkinscoie.com, dlax@perkinscoie.com;cmallahi@perkinscoie.com

Peter A Davidson on behalf of Interested Party Courtesy NEF
pdavidson@ecjlaw.com, amatsuoka@ecjlaw.com

W. Jeffery Fulton on behalf of Creditor US Bank National Association
jeff@jefffultonlaw.com, Yvonne@jefffultonlaw.com

Jeffrey F Gersh on behalf of Interested Party Visual Data Media Services, Inc.
jgersh@gershlegal.com,
hnapier@gershlegal.com;jsedivy@gershlegal.com;hcory@stubbsalderton.com;jgersh@stubbsalderton.com;jse
divy@stubbsalderton.com

Asa S Hami on behalf of Interested Party Visual Data Media Services, Inc.
ahami@sulmeyerlaw.com,
agonzalez@sulmeyerlaw.com;agonzalez@ecf.inforuptcy.com;ahami@ecf.inforuptcy.com

Brian T Harvey on behalf of Creditor Austin Financial Services, Inc.
bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com

Daniel P Hogan on behalf of Deloitte Corporate Finance, LLC, Deloitte Transactions and Business Analytics,
LLP, et al

Garrick A Hollander on behalf of Interested Party Modern VideoFilm, Inc.
ghollander@wcghlaw.com, pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com

William W Huckins on behalf of Creditor REEP-OFC 2300 Empire CA LLC
whuckins@allenmatkins.com, clynch@allenmatkins.com

Robert A Julian on behalf of Defendant Deloitte Corporate Finance, LLC, Deloitte Transactions and Business
Analytics, LLP, Medley Capital Corporation, Medley Opportunity Fund II LP
rjulian@winston.com, hhammon@winston.com

Lance N Jurich on behalf of Defendant Deloitte Corporate Finance, LLC, Deloitte Transactions and Business
Analytics, LLP, Medley Capital Corporation, Medley Opportunity Fund II LP
ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com

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David S Kupetz on behalf of Interested Party Visual Data Media Services, Inc.
dkupetz@sulmeyerlaw.com,
dperez@sulmeyerlaw.com;dperez@ecf.courtdrive.com;dkupetz@ecf.courtdrive.com

Lewis R Landau on behalf of Debtor Point.360, a California Corporation
Lew@Landaunet.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov

David W. Meadows on behalf of Interested Party Courtesy NEF
david@davidwmeadowslaw.com

Elissa Miller on behalf of Interested Party Visual Data Media Services, Inc.
emiller@sulmeyerlaw.com,
asokolowski@sulmeyerlaw.com;emillersk@ecf.inforuptcy.com;dwalker@sulmeyerlaw.com

Susan I Montgomery on behalf of Creditor UnitedHealthcare Insurance Company
susan@simontgomerylaw.com,
assistant@simontgomerylaw.com;simontgomerylawecf.com@gmail.com;montgomerysr71631@notify.bestcase.
com

Shane J Moses on behalf of Interested Party Courtesy NEF
sjm@moseslaw.co

Austin P Nagel on behalf of Creditor Toyota Motor Credit Corporation, servicing agent for Toyota Lease Trust
melissa@apnagellaw.com

Sean A OKeefe on behalf of Creditor Harbor Center Partners, L.P.
sokeefe@okeefelc.com, seanaokeefe@msn.com

Aleksandra Page on behalf of Creditor BB&T
apage@ecf.inforuptcy.com

Sayuj Panicker on behalf of Creditor Los Angeles County Treasurer and Tax Collector
spanicker@counsel.lacounty.gov

Laura J Portillo on behalf of Creditor Committee Official Committee Unsecured Creditors
office@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com

Justin E Rawlins on behalf of Creditor Medley Capital Corporation, Medley Opportunity Fund II LP
jrawlins@winston.com, docketla@winston.com;justin-rawlins-0284@ecf.pacerpro.com

Vincent Renda on behalf of Creditor Leafs Properties, LP
vr@rendalawoffices.com, ld@rendalawoffices.com

Michael B Reynolds on behalf of Creditor California Physicians' Service, dba Blue Shield of California
mreynolds@swlaw.com, kcollins@swlaw.com

Jason E Rios on behalf of Interested Party CVF Capital Partners, Inc., Central Valley Fund III (SIBC), LP and
Central Valley Fund II, LP
jrios@ffwplaw.com, scisneros@ffwplaw.com

Kevin C Ronk on behalf of Creditor Committee Official Committee Unsecured Creditors
Kevin@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com
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Andrea C Rosati on behalf of Creditor LEAFS LP
andrea@fsgjlaw.com, linh@fsgjlaw.com

Lisa Seabron on behalf of Creditor WRI West Gate South, L.P.
lseabron@weingarten.com

Ronald A Spinner on behalf of Creditor Softitler dba Deluxe Localization Sfera
spinner@millercanfield.com

Andrew Still on behalf of Creditor California Physicians' Service, dba Blue Shield of California
astill@swlaw.com, kcollins@swlaw.com

Arvin Tseng on behalf of Creditor TROY / GOULD PC
atseng@troygould.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov

Christopher B Wick on behalf of Creditor Crown Communication Inc.
cwick@hahnlaw.com, lmay@hahnlaw.com

Latonia Williams on behalf of Creditor UnitedHealthcare Insurance Company
lwilliams@goodwin.com, bankruptcy@goodwin.com

Gabe P Wright on behalf of Creditor Crown Communication Inc.
GWRIGHT@hahnlaw.COM, mkanamori@hahnlaw.com

Claire K Wu on behalf of Interested Party Visual Data Media Services, Inc.
ckwu@sulmeyerlaw.com,
mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com




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